                                                                                                                                                                  CM/ECF Requirements
JS 44 (Rev. 09/11)                                                           CIVIL COVER SHEET
The JS 44 civil coversheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as provided
by local rules of court. This form, approved by the Judicial Conference of the United States inSeptember 1974, is required for the use of the Clerk of Court for the purpose of initiating
the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS                                                                                         DEFENDANTS
Advantage Waypoint LLC                                                                                  Michael Baker


     (b) County of Residence of First Listed Plaintiff Delaware/Florida                                   County of Residence of First Listed Defendant              Rutherford County
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                    (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                          NOTE:                     IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                                    THE TRACT OF LAND INVOLVED.


     (c) Attorneys (Firm Name, Address, and Telephone Number)                                             Attorneys (If Known)
William S. Rutchow, Ogletree, Deakins, Nash, Smoak & Stewart, PC,                                       J. Britt Phillips, Christopher J. Schroeck, Sutter O'Connell, 341 Cool
401 Commerce Street Suite 1200, Nashville TN 37219                                                      Springs Blvd Suite 430, Franklin, TN 37067

II. BASIS OF JURISDICTION                           (Place an “X” in One Box Only)          III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff)
                                                                                                     (For Diversity Cases Only)                                         and One Box for Defendant)
’ 1     U.S. Government               ’ 3 Federal Question                                                                    PTF        DEF                                           PTF      DEF
          Plaintiff                         (U.S. Government Not a Party)                       Citizen of This State         ’ 1        ’ 1       Incorporated or Principal Place      ’ 4 ’ 4
                                                                                                                                                   of Business In This State

’ 2     U.S. Government               ’ 4 Diversity                                             Citizen of Another State          ’ 2     ’    2   Incorporated and Principal Place     ’    5   ’ 5
          Defendant                         (Indicate Citizenship of Parties in Item III)                                                             of Business In Another State

                                                                                                Citizen or Subject of a           ’ 3     ’    3   Foreign Nation                       ’    6   ’ 6
                                                                                                  Foreign Country
IV. NATURE OF SUIT                    (Place an “X” in One Box Only)
           CONTRACT                                          TORTS                                  FORFEITURE/PENALTY                        BANKRUPTCY                     OTHER STATUTES
’   110 Insurance                        PERSONAL INJURY                PERSONAL INJURY         ’ 625 Drug Related Seizure          ’ 422 Appeal 28 USC 158            ’   375 False Claims Act
’   120 Marine                       ’   310 Airplane                 ’ 365 Personal Injury -         of Property 21 USC 881        ’ 423 Withdrawal                   ’   400 State Reapportionment
’   130 Miller Act                   ’   315 Airplane Product               Product Liability   ’ 690 Other                               28 USC 157                   ’   410 Antitrust
’   140 Negotiable Instrument                 Liability               ’ 367 Health Care/                                                                               ’   430 Banks and Banking
’   150 Recovery of Overpayment      ’   320 Assault, Libel &               Pharmaceutical                                            PROPERTY RIGHTS                  ’   450 Commerce
        & Enforcement of Judgment             Slander                       Personal Injury                                         ’ 820 Copyrights                   ’   460 Deportation
’   151 Medicare Act                 ’   330 Federal Employers’             Product Liability                                       ’ 830 Patent                       ’   470 Racketeer Influenced and
’   152 Recovery of Defaulted                 Liability               ’ 368 Asbestos Personal                                       ’ 840 Trademark                            Corrupt Organizations
        Student Loans                ’   340 Marine                         Injury Product                                                                             ’   480 Consumer Credit
        (Excl. Veterans)             ’   345 Marine Product                 Liability                        LABOR                      SOCIAL SECURITY                ’   490 Cable/Sat TV
’   153 Recovery of Overpayment               Liability                PERSONAL PROPERTY        ’   710 Fair Labor Standards        ’   861 HIA (1395ff)               ’   850 Securities/Commodities/
        of Veteran’s Benefits        ’   350 Motor Vehicle            ’ 370 Other Fraud                 Act                         ’   862 Black Lung (923)                   Exchange
’   160 Stockholders’ Suits          ’   355 Motor Vehicle            ’ 371 Truth in Lending    ’   720 Labor/Mgmt. Relations       ’   863 DIWC/DIWW (405(g))         ’   890 Other Statutory Actions
’   190 Other Contract                       Product Liability        ’ 380 Other Personal      ’   740 Railway Labor Act           ’   864 SSID Title XVI             ’   891 Agricultural Acts
’   195 Contract Product Liability   ’   360 Other Personal                 Property Damage     ’   751 Family and Medical          ’   865 RSI (405(g))               ’   893 Environmental Matters
’   196 Franchise                            Injury                   ’ 385 Property Damage             Leave Act                                                      ’   895 Freedom of Information
                                     ’   362 Personal Injury -              Product Liability   ’   790 Other Labor Litigation                                                 Act
                                             Med. Malpractice                                   ’   791 Empl. Ret. Inc.                                                ’   896 Arbitration
        REAL PROPERTY                      CIVIL RIGHTS               PRISONER PETITIONS                Security Act                  FEDERAL TAX SUITS                ’   899 Administrative Procedure
’   210 Land Condemnation            ’   440 Other Civil Rights       ’ 510 Motions to Vacate                                       ’ 870 Taxes (U.S. Plaintiff                Act/Review or Appeal of
’   220 Foreclosure                  ’   441 Voting                         Sentence                                                      or Defendant)                        Agency Decision
’   230 Rent Lease & Ejectment       ’   442 Employment                 Habeas Corpus:                                              ’ 871 IRS—Third Party              ’   950 Constitutionality of
’   240 Torts to Land                ’   443 Housing/                 ’ 530 General                                                        26 USC 7609                         State Statutes
’   245 Tort Product Liability               Accommodations           ’ 535 Death Penalty              IMMIGRATION
’   290 All Other Real Property      ’   445 Amer. w/Disabilities -   ’ 540 Mandamus & Other    ’ 462 Naturalization Application
                                             Employment               ’ 550 Civil Rights        ’ 463 Habeas Corpus -
                                     ’   446 Amer. w/Disabilities -   ’ 555 Prison Condition          Alien Detainee
                                             Other                    ’ 560 Civil Detainee -          (Prisoner Petition)
                                     ’   448 Education                      Conditions of       ’ 465 Other Immigration
                                                                            Confinement               Actions

V. ORIGIN                 (Place an “X” in One Box Only)
                                                                                                                  Transferred from
’ 1 Original           ’ 2 Removed from          ’ 3 Remanded from             ’ 4 Reinstated or ’ 5 another district                    ’ 6 Multidistrict
    Proceeding             State Court                    Appellate Court              Reopened                   (specify)                       Litigation
                                   Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                            28 U.S.C. 1332
VI. CAUSE OF ACTION Brief description of cause:
                                            Plaintiff alleges breach of employment contract.
VII. REQUESTED IN     ’ CHECK IF THIS IS A CLASS ACTION                                             DEMAND $                                   CHECK YES only if demanded in complaint:
     COMPLAINT:          UNDER F.R.C.P. 23                                                                                                     JURY DEMAND:         ’ Yes     ’ No
VIII. RELATED CASE(S)
                       (See instructions):
      IF ANY                               JUDGE                                                                                        DOCKET NUMBER

DATE                                                                    SIGNATURE OF ATTORNEY OF RECORD

07/18/2017                                                             s/J. Britt Phillips
FOR OFFICE USE ONLY

    RECEIPT #                     AMOUNT                                  APPLYING IFP                                    JUDGE                           MAG. JUDGE
                          Case 3:17-cv-01053 Document 1-5 Filed 07/18/17 Page 1 of 2 PageID #: 70
                 Print                                Save As...                                                                                                              Reset
JS 44 Reverse (Rev. 09/11)


                      INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44

                                                                Authority For Civil Cover Sheet
  The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as required
by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the
use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of Court for each civil
complaint filed. The attorney filing a case should complete the form as follows:
I.       (a) Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use only
the full name or standard abbreviations. If the plaintiff or defendant is an official within agovernment agency, identify first the agency and then the official, giving
both name and title.
        (b) County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land condemnation
cases, the county of residence of the “defendant” is the location of the tract of land involved.)
         (c) Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
in this section “(see attachment)”.
II.     Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.C P.,
                                                                                    . which requires that jurisdictions be shown in pleadings. Place an “X” in one
of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an “X” in this box.
Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdicti on arises under the Constitution of the UniteG States, an amendment to the
Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is aparty, the U.S. plaintiff or defendant code takes precedence, and box
1 or 2 should be marked.
Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the citizenship of
the different parties must be checked. (See Section III below; federal question actions take precedence over diversity cases.)
III.    Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark
                                                                                                                                                        this section
for each principal party.
IV.      Nature of Suit. Place an “X” in the appropriate box. If the nature of s uit cannot be determined, be sure the cause of action, in S ection VI below, is
sufficient to enable the deputy clerk or the statistical clerks in the Administrative Office to determine the nature of suit. If the cause fits more than one nature of
suit, select the most definitive.
V.       Origin. Place an “X” in one of the seven boxes.
Original Proceedings. (1) Cases which originate in the United States district courts.
Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441. When the petition
for removal is granted, check this box.
Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing date.
Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or multidistrict
litigation transfers.
Multidistrict Litigation. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C. Section 1407. When this
box is checked, do not check (5) above.
Appeal to District Judge from Magistrate Judgment. (7) Check this box for an appeal from a magistrate judge’s decision.
VI.    Cause of Action. Report the civil statute directlyrelated to the cause of action and give a brief description of the cause Do
                                                                                                                                    . not cite jurisdictional statutes
unless diversity.          Example:              U.S. Civil Statute: 47 USC 553
                                                 Brief Description: Unauthorized reception of cable service
VII.     Requested in Complaint. Class Action. Place an “X” in this box if you are filing a class action under Rule 23, F.R.Cv.P.
Demand. In this space enter the dollar amount (in thousands of dollars) being demanded or indicate other demand such as a preliminary injunction.
Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.
VIII. Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket numbers
and the corresponding judge names for such cases.
Date and Attorney Signature. Date and sign the civil cover sheet.




                        Case 3:17-cv-01053 Document 1-5 Filed 07/18/17 Page 2 of 2 PageID #: 71
